Case 21-11281-mdc         Doc 46    Filed 07/21/22 Entered 07/21/22 12:21:37          Desc Main
                                    Document     Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                         :
         Kona L. Taylor                        :       Chapter 13
                                               :       Case No.: 21-11281-MDC
         Debtor(s)                             :



 AMENDED ORDER GRANTING DEBTOR’S MOTION FOR AUTHORITY TO SELL
                       REAL PROPERTY

        AND NOW, this ___________________ day of _________, 2022, upon consideration of
the Motion for Authority to Sell Real Property filed by the debtor, upon notice to all interested
parties, upon the filing, and any response thereto, and after a hearing before the Court and for
good cause shown, it is hereby

         ORDERED, that the debtor is granted permission to sell their real property located at
4451 Glenwood Drive, Perkiomenville, PA (“Property”), for the sale price of $273,200, pursuant
to the terms of a certain real estate agreement of sale dated as of July 8, 2022, to the buyers
thereunder, Ryan E. Klosinski and Colton J. Hagar (“Buyer”), who has been represented to be
purchasing the Property at arms-length.

       The proceeds of the sale, including any funds held as a deposit made by or on behalf of
the Buyer, shall be distributed in the approximate following manner:

         1.     Ordinary and reasonable settlement costs, including,
                but not limited to those related to notary services, deed
                preparation, disbursements, express shipping, surveys,
                municipal certifications, or any other such routine matters       $1,366
         2.     Liens paid at closing-                                            $180,000


         3.     Real estate taxes, sewer, trash and/or other such items           $2,732
         4.     Property repairs, if any                                          $
         5.     Real estate commission, at no greater than 6%                     $16,392
         6.     Attorney’s fees, if any                                           $
         7.     Any small (less than $300) allowances agreed to be made
                to Buyer to settle any unforeseen dispute arising at
                settlement                                                        $
Case 21-11281-mdc         Doc 46    Filed 07/21/22 Entered 07/21/22 12:21:37              Desc Main
                                    Document     Page 2 of 2



       8.      Other                                                                  $_______
               ESTIMATED AMT DUE TO SELLER(S)                                         $ 72,710


       This Order is contingent upon the mortgage lien(s) held by Pennsylvania Housing
Finance Agency being paid in full at closing pursuant to a proper payoff quote obtained prior to
and good through the closing date; or any short payoff is approved by Pennsylvania Housing
Finance Agency; and Debtor shall have ninety (90) days from entry of this Order to sell the
Property.

       After paying all liens in full and all costs of sale, the title clerk shall pay to Kenneth
West, Chapter 13 standing trustee, the balance of the filed unsecured claims after the Debtor
receives her sale proceeds in the minimum amount of her exemption amount of $25,150.00.
Any remaining sale proceeds shall be paid to the Debtor.

        The title clerk shall fax ((215) 627-6299) a completed HUD-1 or settlement sheet from
the closing directly to the trustee immediately upon the close of the settlement, and the trustee
shall promptly notify the title company of his approval or objections to the sums to be disbursed.

        Upon trustee approval, the title clerk shall fax a copy of the disbursement check to the
trustee, and shall immediately transmit the actual disbursement check to the trustee by overnight
courier.

     Per Bankruptcy Rule 6004(h), the 14 day stay as to effect of this Order is hereby waived.




                                               BY THE COURT



                                               ____________________________________
                                               HONORABLE MAGDELINE D. COLEMAN
                                               CHIEF U.S. BANKRUPTCY JUDGE
